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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TEXAS
                                  TYLER DIVISION


 ROTHSCHILD BROADCAST DISTRIBUTION
 SYSTEMS, LLC,

               Plaintiff,                                   JURY TRIAL DEMANDED

        v.                                                  CASE NO. 6:15-CV-230-RWS-JDL

 USTREAM, INC.,

               Defendant.


                                     DISCOVERY ORDER

       After review of the pleaded claims and defenses in this action and in furtherance of the
 management of the Court’s docket under Fed. R. Civ. P. 16, the Court enters the following
 Discovery Order:

    1. Initial Disclosures. In lieu of the disclosures required by Federal Rule of Civil
       Procedure 26(a)(1), within thirty (30) days after the Scheduling Conference (i.e., by
       August 21, 2015), and without awaiting a discovery request, each party shall disclose to
       every other party the following information:

        A.     the correct names of the parties to the lawsuit;
        B      the name, address, and telephone number of any potential parties;
        C.     the legal theories and, in general, the factual bases of the disclosing party’s claims
               or defenses (the disclosing party need not marshal all evidence that may be
               offered at trial);
        D.     the name, address, and telephone number of persons having knowledge of
               relevant facts, a brief statement of each identified person’s connection with the
               case, and a brief, fair summary of the substance of the information known by
               such person;
        E.     any indemnity and insuring agreements under which any person or entity carrying
               on an insurance business may be liable to satisfy part or all of a judgment entered
               in this action or to indemnify or reimburse for payments made to satisfy the
               judgment;
        F.     any settlement agreements, assignments, patent licenses, or covenants not to sue
               relevant to the subject matter of this action;
        G.     any statement of any party to the litigation;
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 2.      Additional Disclosures. Each party shall provide to every other party the following
         information:

         A.       the disclosures required by the Court’s Patent Rules in accordance with the
                  deadlines set forth in said rules and the Court’s Docket Control Order;
         B.       to the extent that any party pleads a claim for relief or defensive matter other than
                  those addressed in the Patent Rules 1, by October 16, 2015, and without awaiting a
                  discovery request, a copy of all documents, data compilations and tangible things
                  in the possession, custody, or control of the party that are relevant to those
                  additionally pleaded claims or defenses involved in this action. By written
                  agreement of all parties, alternative forms of disclosure may be provided in lieu of
                  paper copies. For example, the parties may agree to exchange images of
                  documents electronically or by means of computer disk; or the parties may agree
                  to review and copy disclosure materials at the offices of the attorneys representing
                  the parties instead of requiring each side to furnish paper copies of the disclosure
                  materials; and
         C.       within forty-five (45) days after the Scheduling Conference a complete
                  computation of any category of damages claimed by any party to the action,
                  making available for inspection and copying (See Local Rule CV-34), the
                  documents or other evidentiary materials on which such computation is based,
                  including materials bearing on the nature and extent of injuries suffered; and those
                  documents and authorizations described in Local Rule CV-34.

 3.      Testifying Experts. Each party is limited to four testifying expert witnesses. By the
         date provided in the Docket Control Order, each party shall disclose to the other party or
         parties:

         A.       The expert’s name, address, and telephone number;
         B.       The subject matter on which the expert will testify;
         C.       A report as required by Federal Rule of Civil Procedure 26(a)(2)(B);
         D.       If the expert is not retained by, employed by, or otherwise subject to the control of
                  the disclosing party, documents reflecting the general substance of the expert’s
                  mental impressions and opinions;
         E.       If the expert is retained by, employed by, or otherwise subject to the control of the
                  disclosing party:
                  (1)     all documents, tangible things, reports, models, or data compilations that
                          have been provided to, reviewed by, or prepared by or for the expert in
                          anticipation of the expert’s testimony; and
                  (2)     the expert’s current resume and bibliography;
                  (3)     The parties shall be excused from furnishing an expert report of treating
                          physicians unless reasonably requested to do so by another party.

 1
  The Patent Rules are Appendix M to the Local Rules which are available on the Court’s website at
 www.txed.uscourts.gov.
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 4.     Discovery Limitations. Discovery is limited in this cause to the disclosures described in
        Paragraphs 1 – 3, together with 35 interrogatories per side, and 35 requests for
        admissions per side. 1 Also permitted are the depositions of the parties, depositions on
        written questions of custodians of business records for third parties, depositions of each
        party’s expert witnesses, and no more than 50 hours of third party depositions per side.
        Fact depositions of party witnesses will be limited to eight depositions of each party.
        Each inventor deposition shall be limited to a maximum of fourteen (14) hours. All other
        depositions shall be limited to a maximum of seven (7) hours unless extended by
        agreement of the parties. Depositions of expert witnesses shall be limited to seven (7)
        hours per expert per report. 2 “Side” means a party or a group of parties with a common
        interest, including any consolidated defendants. Any party may later move to modify
        these limitations for good cause.

 5.     Privileged Information. There is no duty to disclose privileged documents or
        information. However, the parties are directed to meet and confer concerning privileged
        documents or information after the Scheduling Conference. By the date provided in the
        Docket Control Order, the parties shall exchange privilege logs identifying the documents
        or information and the basis for any disputed claim of privilege in a manner that, without
        revealing information itself privileged or protected, with enable the other parties to assess
        the applicability of the privilege or protection. A party may move the Court for an order
        compelling the production of any privileged documents or information identified on any
        other party’s privilege log. If such a motion is made, the party asserting privilege shall
        file with the Court within thirty (30) days of the filing of the motion to compel any proof
        in the form of declarations or affidavits to support their assertions of privilege, along with
        the documents over which privilege is asserted for in camera inspection. If the parties
        have no disputes concerning privileged documents or information, then the parties shall
        file a notice so stating by the date provided in the Docket Control Order.

 6.     Pre-trial Disclosures. By the date provided in the Docket Control Order, each party
        shall provide to every other party the following disclosures regarding the evidence that
        the disclosing party intends to present at trial:

        A.      The name and, if not previously provided, the address and telephone number, of
                each witness, separately identifying those whom the party expects to present at
                trial and those whom the party may call if the need arises.
        B.      The designation of those witnesses whose testimony is expected to be presented
                by means of a deposition and, if not taken stenographically, a transcript of the
                pertinent portions of the deposition testimony.


 1
  There shall be no limit, however, on the number of requests for admission per side directed solely to
 the authentication of documents and things.
 2
   For example, an initial report and rebuttal report prepared by a single expert constitutes two
 reports and entitle the parties to two depositions of said expert.
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       C.     An appropriate identification of each document or other exhibit, including
              summaries of other evidence, separately identifying those which the party expects
              to offer and those which the party may offer if the need arises.

       By the date provided in the Docket Control Order, a party may serve and file a list
       disclosing (1) any objections to the use under Rule 32(a) of a deposition designated by
       another party under subparagraph “B.” above; and (2) any objections, together with the
       grounds therefor, that may be made to the admissibility of materials identified under
       subparagraph “C.” above. Objections not so disclosed, other than objections under Rules
       402 and 403 of the Federal Rules of Evidence, shall be deemed waived unless excused by
       the Court for good cause shown.

 7.    Signature. The disclosures required by this order shall be made in writing and signed by
       the party or counsel and shall constitute a certification that, to the best of the signer’s
       knowledge, information and belief, such disclosure is complete and correct as of the time
       it is made.

 8.    Notification of the Court. The parties shall promptly file a notice with the Court that
       the disclosures required under this Order have taken place.

 9.    Duty to Supplement. After disclosure is made pursuant to this order, each party is under
       a duty to supplement or correct its disclosures immediately if the party obtains
       information on the basis of which it knows that the information disclosed was either
       incomplete or incorrect when made, or is no longer complete or true.

 10.   Requests for Production. Because documents relevant to any claim or defense are to be
       produced pursuant to the Patent Rules and paragraphs one and two of this Order, requests
       for production are unnecessary. However, should a party believe that certain relevant
       documents have not been produced, that party may request said documents by letter. The
       Court will entertain a motion to compel documents without the necessity of a movant
       propounding formal requests for production.

 11.   Discovery Conferences. Within 72 hours of the Court setting any discovery motion for
       hearing, each party’s lead trial counsel and local counsel shall meet and confer in person
       or by telephone in an effort to resolve the dispute without Court intervention. Counsel
       shall promptly notify the Court of the results of the meeting. Attendance by proxy is not
       permitted. Unless excused by the Court, lead counsel shall attend any discovery hearing
       set by the Court.

 12.   No Excuses. A party is not excused from the requirements of this Discovery Order
       because it has not fully completed its investigation of the case, or because it challenges
       the sufficiency of another party’s disclosures, or because another party has not made its
       disclosures. Absent court order to the contrary, a party is not excused from disclosure
       because there are pending motions to dismiss, to remand or to change venue. Parties
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       asserting the defense of qualified immunity may submit a motion to limit disclosure to
       those materials necessary to decide the issue of qualified immunity.

 13.   Protective Orders. A party may request that the Court issue the Court’s Standard
       Protective Order. However, a party may propose the issuance of or move to modify the
       terms of the Protective Order for good cause. The Court authorizes the parties to file any
       document that is subject to a protective order under seal.

 14.   Hearing Notebooks. The Court requires Markman and Summary Judgment notebooks,
       as stated in the Docket Control Order. The moving party shall provide to the Court two
       binders containing the briefing in its entirety (opening motion/brief, response, reply, and,
       if applicable, surreply), in addition to associated exhibits. Binders shall be appropriately
       tabbed. In addition, claim construction briefing and any motions for summary judgment
       of invalidity for indefiniteness shall be provided to the technical advisor if one has been
       appointed. Otherwise, hearing notebooks are no longer required or requested. However,
       the Court may request hearing notebooks in specific instances.

 15.   Electronic Discovery and Production. The parties are to meet and confer to agree on
       any electronic discovery and production issues. The parties shall then submit an agreed
       ESI order by the deadline set forth in the Scheduling Order. Should the parties disagree
       on any issues, the parties shall submit competing proposals to the Court pursuant to the
       deadline outlined in the Order setting a status/scheduling conference. The Court may
       consider said issues on the papers, schedule a telephone conference to assist in resolving
       the dispute, or address any arguments during the status/scheduling conference. Parties
       should refer to Appendix P of the Local Rules (Model Order Regarding E-Discovery in
       Patent Cases) as a starting point.

 16.   Proposed Stipulations by the Parties Regarding Discovery:

       A.     No party shall be required to identify on their respective privilege logs any
              document or communication created or occurring after the filing of the initial
              Complaint.
       B.     No party shall be required to identify on their respective privilege logs any
              document or communication between outside litigation counsel and their client,
              that, absent this stipulation, the party would have been obligated to so identify on
              said privilege log.
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 DATED: July 19, 2015                  Respectfully Submitted,


                                       By:/s/Charles Ainsworth

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                                CERTIFICATE OF SERVICE

        The undersigned hereby certifies that all counsel of record who are deemed to have
 consented to electronic service are being served this 19th day of July, 2015, with a copy of this
 document via the Court’s CM/ECF system per Local Rule CV-5(a)(3). Any other counsel of
 record will be served by, electronic mail, facsimile transmission and/or first class mail on this
 same date.

                                             /s/ Charles Ainsworth
                                             Charles Ainsworth
